Case 1:24-cr-20291-RKA Document 1 Entered on FLSD Docket 06/28/2024 Page 1 of 9




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                        24-mj-03275-REID
                             CASE NO. ________________________

                                                                                          MP
 UNITED STATES OF AMERICA

 v.                                                                             Jun 28, 2024
 ERIK HERNAN ESPINOZA
                                                                                             Miami
 ____________________________________/

                                   CRIMINAL COVER SHEET

      1. Did this matter originate from a matter pending in the Northern Region of the United States
         Attorney=s Office prior to August 8, 2014 (Mag. Judge Shaniek M. Maynard)? No.

      2. Did this matter originate from a matter pending in the Central Region of the United States
         Attorney=s Office prior to October 3, 2019 (Mag. Judge Jared M. Strauss)? No.

      3. Did this matter involve the participation of or consultation with now Magistrate Judge
         Eduardo I. Sanchez during his tenure at the U.S. Attorney’s Office, which concluded on
         January 22, 2023? No.

      4. Did this matter involve the participation of or consultation now Magistrate Judge Marta
         Fulgueira Elfenbein during her tenure at the U.S. Attorney’s Office, which concluded on
         March 5, 2024? No.


                                                      Respectfully submitted,

                                                      MARKENZY LAPOINTE
                                                      UNITED STATES ATTORNEY


                                               By:    /s/ Ilana R. Malkin
                                                       Ilana R. Malkin
                                                       Assistant United States Attorney
                                                       Court ID No. A5503170
                                                       99 Northeast 4th Street
                                                       Miami, Florida 33132
                                                       Tel.: (305) 961-9170
                                                       Email: Ilana.Malkin@usdoj.gov
Case 1:24-cr-20291-RKA Document 1 Entered on FLSD Docket 06/28/2024 Page 2 of 9
Case 1:24-cr-20291-RKA Document 1 Entered on FLSD Docket 06/28/2024 Page 3 of 9




                  AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

        I, Michael Valle, being duly sworn, hereby depose and state as follows:

                       AGENT BACKGROUND AND INTRODUCTION

        1.      I am a Special Agent with the United States Department of Homeland Security

 (“DHS”), Homeland Security Investigations (“HSI”), assigned to the Miami Office. I have been

 employed as an HSI Special Agent since November 2019. I am currently assigned to the Child

 Exploitation Investigations Group. My duties and responsibilities include investigating crimes

 involving the sexual exploitation of minors, such as offenses involving travel in foreign commerce

 to engage in sexually explicit conduct with minors, and offenses involving the production,

 possession, and transportation of child pornography. I have conducted and assisted in numerous

 child exploitation investigations.

        2.      During these investigations, I have reviewed still images and videos containing

 child pornography and images depicting minor children engaged in sexually explicit conduct on

 all forms of electronic media including computers, digital cameras, and wireless telephones, and

 have discussed and reviewed these materials with other law enforcement officers. I have

 received training in the area of child pornography and child exploitation, and, during the course of

 my duties, I have observed and reviewed examples of child pornography. I have also conducted

 child pornography and child exploitation investigations, which have involved reviewing examples

 in all forms of media including computer media and have discussed and reviewed these materials

 with other law enforcement officers.

        3.      I am a law enforcement officer of the United States within the meaning of Section

 2510(7) of Title 18, United States Code. That is, I am an officer of the United States who is

 empowered by law to conduct investigations of, and make arrests for, violations of federal law,



                                                  1
Case 1:24-cr-20291-RKA Document 1 Entered on FLSD Docket 06/28/2024 Page 4 of 9




 including the offenses enumerated in Title 18, United States Code, Sections 2422, 2423, 2251, and

 2252.

         4.     I submit this Affidavit for the limited purpose of establishing probable cause that

 Erik Hernan Espinoza (“ESPINOZA”) has violated Title 18, United States Code, Sections 2422(b)

 (attempted coercion and enticement of a minor) and 2251(a) and (e) (attempted production of

 visual depictions involving sexual exploitation of minors).

         5.     The statements contained in this Affidavit are based on my personal knowledge, as

 well as information provided by other individuals, including other law enforcement officials, and

 my review of records and other evidence obtained during the course of this investigation. I have

 not included each and every fact known to me and to other law enforcement officers involved in

 this investigation, but only the facts sufficient to establish probable cause.

                                    FACTUAL BACKGROUND

                                    Identification of ESPINOZA

         6.     On or about May 22, 2024, the grandmother of a 16-year-old female (“MINOR

 VICTIM 1”) contacted state law enforcement in Missouri regarding a male individual on Snapchat,

 Inc. (“Snapchat”) 1 who sent MINOR VICTIM 1 money in exchange for sexually explicit photos.

         7.     On or about May 29, 2024, law enforcement met with MINOR VICTIM 1 who

 stated that she met an individual who went by the name “Jaime” on Snapchat.

         8.     On or about May 3, 2024, MINOR VICTIM 1 received an $18 payment from

 “Jaime” via Cash App. On or about May 7, 2024, MINOR VICTIM 1 received a $20 payment



 1
   Snapchat is a social media platform which allows users to send and receive “self-destructing”
 messages, pictures, and videos called “snaps”. The sender of a snap has the option of setting a
 timer for how long the snap can be viewed. Once a snap has been viewed, it is deleted from
 Snapchat’s system and is no longer visible to the recipient. Snapchat users can also send text
 messages to other users using the “chat” feature.

                                                   2
Case 1:24-cr-20291-RKA Document 1 Entered on FLSD Docket 06/28/2024 Page 5 of 9




 from “Jaime” via Cash App. MINOR VICTIM 1 told law enforcement she sent “Jaime”

 approximately ten nude photos of herself, which included her entire body and face, in exchange

 for the payments.

        9.     MINOR VICTIM 1 identified “Jaime’s” Snapchat username as “lacosita9221” and

 Cash App username as “$bigbag1902.”

        10.    As part of the investigation, law enforcement obtained state search warrants for

 “$bigbag1902” and “lacosita9221” on Cash App and Snapchat, respectively, as well as for content

 relating to MINOR VICTIM 1’s Snapchat account. 2

        11.    Responsive records from Cash App identified a Miami-based phone number ending

 in 0343 (the “0343-Number”) as the phone number associated with the Cash App user account

 “$bigbag1902.” Multiple law enforcement databases revealed that the 0343-Number belongs to

 Erik Hernan ESPINOZA.

        12.    Responsive records from Cash App also revealed a JP Morgan Chase Bank account

 associated with “$bigbag1902.” A subsequent subpoena identified Erik Hernan ESPINOZA as the

 JP Morgan Chase Bank account owner.

        13.    Responsive records from Snapchat provided the Internet Protocol (“IP”) address

 from which the majority of “lacosita9221” messages and logins originated. Responsive records

 from Snapchat also revealed a previous username, “hispanic17383,” associated with the

 “lacosita9221” account.




 2
   MINOR VICTIM 1 informed law enforcement that after she sent “Jaime” the nude photos of
 herself, she deleted the photos over Snapchat. As of yet, law enforcement has not located the
 Snapchat conversations between “Jaime” and MINOR VICTIM 1, during which MINOR VICTIM
 1 sent “Jaime” sexually explicit images of herself at “Jaime’s” request.

                                               3
Case 1:24-cr-20291-RKA Document 1 Entered on FLSD Docket 06/28/2024 Page 6 of 9




        14.     After identifying AT&T as the service provider for the IP address, law enforcement

 issued a subpoena. AT&T provided responsive records showing the subscriber for the IP Address

 as “J.E.”, ESPINOZA’s father, with a service address of an apartment located on Northwest 186th

 Street, in Hialeah, Florida (the “Hialeah Residence”). Law enforcement determined that

 ESPINOZA also resides at the Hialeah Residence.

        15.     Law enforcement’s review of the search warrant returns for Snapchat also revealed

 chats between ESPINOZA and additional minor victims regarding the production of child sexual

 abuse material (“CSAM”) via Snapchat, including an individual who identified herself as a 15-

 year-old female (“MINOR VICTIM 2”).

        16.     For example, in one Snapchat conversation between ESPINOZA and MINOR

 VICTIM 2 that occurred on or about December 25, 2022, ESPINOZA asks MINOR VICTIM 2

 how old she is. MINOR VICTIM 2 responds, “15 I’ll be 16 soon.”

        17.     In another message on or about December 27, 2022, MINOR VICTIM 2 again notes

 that she is 15 years old.

   ESPINOZA’s Attempted Production of Visual Depictions Involving Sexual Exploitation of
              Minors and Coercion and Enticement of MINOR VICTIM 2

        18.     Law enforcement’s review of Snapchat conversations between ESPINOZA and

 MINOR VICTIM 2 revealed numerous messages from ESPINOZA to MINOR VICTIM 2 asking

 her to create CSAM in exchange for money.

        19.     In a conversation on or about December 28, 2022, ESPINOZA asks:


    ESPINOZA                 How much for a vid?
    MINOR VICTIM 2           Depends on what you want
    ESPINOZA                 $2?
    MINOR VICTIM 2           That’s for a picture probably do 5 for a video
    ESPINOZA                 3 minute long video?
    MINOR VICTIM 2           3 minutes that would be 10
    ESPINOZA                 $5

                                                   4
Case 1:24-cr-20291-RKA Document 1 Entered on FLSD Docket 06/28/2024 Page 7 of 9




    MINOR VICTIM 2     5 for a 1.5 minute video that’s half
    ESPINOZA           You fully nude
                       Using a vibe on your clit
                       Showing your whole body
    MINOR VICTIM 2     That can be 10 if that’s ok just because it’s not something I’m used
                       to doing


       20.   In another conversation on or about December 29, 2022, ESPINOZA asks:


    ESPINOZA           Wats on ur mind
    MINOR VICTIM 2     Idk I don’t really feel like sending the videos of my pussy cause I
                       don’t send it or anyone is there other things I can send instead that
                       will equal $22
    ESPINOZA           I see
    MINOR VICTIM 2     It’s nothing you did I just never have been comfortable with
                       sending it
    ESPINOZA           Are u comfortable sending face tho?
    MINOR VICTIM 2     Yes
    ESPINOZA           I got a few other stuff u can do
    MINOR VICTIM 2     Ok like what
    ESPINOZA           In one vid can u walk on all fours fully nude
    MINOR VICTIM 2     Ok
    ESPINOZA           Sounds good?
    MINOR VICTIM 2     Yea little weird but on
                       Ok*
    ESPINOZA           U do anal or nope
    MINOR VICTIM 2     No
    ESPINOZA           Can u show that hole tho
    MINOR VICTIM 2     Yea
    ESPINOZA           Alr so
                       2nd vid
                       I want u to show off ur body
                       And then spread ur cheeks and like clench ur asshole
                       Yk
    MINOR VICTIM 2     Ok

       21.   The conversation continues:


    ESPINOZA           That cool?
    MINOR VICTIM 2     Yea
    ESPINOZA           Weird or nah?
    MINOR VICTIM 2     A little but I want to get paid so I’ll do it
    ESPINOZA           3rd vid
                       Twerk for a minute fully nude and blow a kiss at the end

                                              5
Case 1:24-cr-20291-RKA Document 1 Entered on FLSD Docket 06/28/2024 Page 8 of 9




        22.    ESPINOZA also makes the following requests on or about December 29, 2022:


    ESPINOZA              Can u crawl nude to the camera and blow a kiss
    MINOR VICTIM 2        Yea
    ESPINOZA              Can you make another vid where u wink with ur asshole about 30
                          or 40 times and then blow a kiss?
                          And also like run your finger around ur hole but not go in it
                          Okay
                          Are they savable?
    MINOR VICTIM 2        Idk
    ESPINOZA              Can u do them again if they arent?
    MINOR VICTIM 2        Maybe
    ESPINOZA              Damn
                          Cant save them
                          Can u make all the stuff savable plz
                          ????
                          ?
                          ??
                          Wait stop sending
                          I cant save them
                          Can u put the thing on the snap timer to infinity?
    MINOR VICTIM 2        Ok I’ll do something else hold on
    ESPINOZA              So i can save them
                          You have a beautiful body

                                     Arrest of ESPINOZA

        23.    On or about June 27, 2024, ESPINOZA entered the United States at Miami

 International Airport aboard LATAM Flight #2698 from Lima, Peru.

        24.    At Customs and Border Protection (“CBP”) Primary Inspection, ESPINOZA

 presented a United States passport for entry into the United States. ESPINOZA was selected for

 secondary inspection. During secondary inspection, law enforcement inspected ESPINOZA’s

 personal property, including a Motorola Edge (the “Motorola”). Upon inspection, ESPINOZA

 made an oral binding declaration to the inspecting CBP officer stating he owned Motorola.

 Furthermore, ESPINOZA provided the CBP officer with the password for the device.




                                               6
Case 1:24-cr-20291-RKA Document 1 Entered on FLSD Docket 06/28/2024 Page 9 of 9
